 AO 'lU iKcv. IMI) Arrjs: Wid^i'i




                                            Unitkd States District Court                                              "1
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                                                                      for the

                                                           tasrern District of New York                                          GtG Z 7 ZOia
                      United Staler ol'America
                                       V.


                                                                                Case No.     19-M-1142
                              Qing Fu Zeng




                                                           ARREST WARRAM
To:        Any {uiihorizcd law enlbrcenicnl oflker

           YOi: AUK C:OMiMAM>Ki)to arrest and hring helbre a United States magistrate judge widiout unnecessary delay
/Hrwji- ojpiTsoii to ih' iinv.iicti/    Qing Fu Zeng
who is accused of an offense or violation bn.scd on the following document filed with ilic emin:"
3 indiclineni      n Superseding Indictmem H Information 1 Superseding Inlbnnalion iS'Cornpiaitu
3 Probation Violation Petition  3 Supervised Release Violation Pciiiion 3Violation Notice □ Order of llie Conn
'[ his olfensc is briclly described as follows:
     Violation of 18 U.S.C. 545




Date:           12/06/2019
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Cil\ jind state:         Brooklyn, NY                                                         Hon. Sanket J. Bulsara
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           I his war^ was received on nixit,-'         /         /2<?l9 ■       the per.son v\ji> arrested on uhti,;             /z/z(^2o /9
at                 ]joV^                                                                               ^
Daw; In-j Zlj 2jsl^
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